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                                           8                                  UNITED STATES DISTRICT COURT
                                           9                                NORTHERN DISTRICT OF CALIFORNIA
                                          10                                           SAN JOSE DIVISION
For the Northern District of California




                                          11   DAVID TRINDADE                                      )    Case No. 5:12-cv-04759-PSG
                                                                                                   )
    United States District Court




                                          12                            Plaintiff,                 )    ORDER GRANTING TRINDADE’S
                                                                                                   )    MOTION FOR DEFAULT
                                          13            v.                                         )    JUDGMENT
                                                                                                   )
                                          14   REACH MEDIA GROUP, LLC,                             )    (Re: Docket No. 80)
                                                                                                   )
                                          15                            Defendant.                 )
                                                                                                   )
                                          16
                                                        Before the court is Plaintiff David Trindade’s motion for default judgment. 1 Defendant
                                          17

                                          18   Reach Media Group, LLC has not filed any opposition. Having reviewed the motion and the

                                          19   record, the court GRANTS Trindade’s motion for default judgment. 2

                                          20                                            I. BACKGROUND
                                          21            On September 12, 2012, Trindade filed this suit as a putative class action, alleging that
                                          22
                                               RMG made, or had made on its behalf, unsolicited text message calls to Trindade and the other
                                          23

                                          24

                                          25   1
                                                   See Docket No. 80.
                                          26   2
                                                 Because the court has obtained consent of all parties to the case, this court possesses jurisdiction
                                          27   to make a case-dispositive ruling on Trindade’s motion for default judgment.
                                               See 28 U.S.C. § 636(c). Third-party defendant Eagle Web Assets, Inc. has not been served and
                                          28   thus is not a party to the case.

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                                               Case No. 5:12-cv-04759-PSG
                                               ORDER GRANTING TRINDADE’S MOTION FOR DEFAULT JUDGMENT
                                               members of the putative class. 3 The alleged text message calls stated that lenders were offering
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                                           2   cash loans and directed recipients to information collection and payday loan offer websites. 4

                                           3   Trindade alleged that RMG’s actions violated the Telephone Consumer Protection Act and sought

                                           4   injunctive relief, statutory damages, costs and attorney’s fees. 5
                                           5
                                                          On November 1, 2012, RMG filed its answer. 6 RMG admitted that, as part of its business
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                                               as a “publisher network,” it generated leads “by contracting with third-party publishers to advertise
                                           7
                                               payday loan offers to consumers through text messages.” 7 RMG also admitted that it owned two of
                                           8
                                               the websites alleged in the complaint. 8 RMG denied, however, that it generated leads “by making
                                           9

                                          10   text message calls or having them made on its behalf to drive consumers to information collection
For the Northern District of California




                                          11   websites and payday loan offers” or that it made, or had made on its behalf, the alleged text
    United States District Court




                                          12   message calls. 9
                                          13
                                                          On November 15, 2012, RMG filed a cross-complaint against third-party Defendants
                                          14
                                               Ryan Lenahan, Kyle Danna and Eagle Web Assets Inc. alleging that the third-party Defendants
                                          15
                                               contracted with RMG as third-party publishers and subsequently edited the content of text message
                                          16
                                               advertisements designed by RMG in violation of their contracts. 10 RMG alleged that the
                                          17

                                          18   third-party Defendants therefore were required to indemnify RMG against any claims arising from

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                                               3
                                          21       See Docket No. 1 at ¶ 15.
                                               4
                                          22       See id at ¶ 17, 19, 20 and 21.
                                               5
                                          23       See 47 U.S.C. § 227; see also Docket No. 1 at ¶ 2 and 5.
                                               6
                                          24       See Docket No. 17.
                                               7
                                          25       Id. at ¶ 1.
                                               8
                                          26       See id. at ¶ 19.
                                               9
                                          27       Id. at ¶ 1.
                                               10
                                          28        See Docket No. 22 at ¶ 4, 5 and 6.

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                                               breach of their contracts. 11 RMG’s concurrent responses to Trindade’s interrogatories were
                                           1

                                           2   consistent with these allegations. 12 All of RMG’s claims against the third-party defendants,

                                           3   however, were eventually dropped. The court dismissed all of the claims against Danna with leave

                                           4   to amend for lack of personal jurisdiction. 13 The court also dismissed the breach of contract,
                                           5
                                               breach of warranty, tortious interference with contractual relations and tortious interference with
                                           6
                                               prospective economic advantage claims against Lenahan with leave to amend. 14 RMG then filed
                                           7
                                               notice of its intent not to file an amended third-party complaint and not to serve Eagle Web Assets
                                           8
                                               Inc., 15 as well as a stipulation to the dismissal of all of its claims against Lenahan. 16
                                           9

                                          10             On November 8, 2013, the court granted RMG’s counsel leave to withdraw as counsel of
For the Northern District of California




                                          11   record. 17 In the interim, RMG has not actively litigated this case – for example, RMG has not
    United States District Court




                                          12   responded to Trindade’s discovery requests or filed anything on the docket. 18 On
                                          13
                                               January 27, 2014, the Clerk entered default pursuant to Fed. R. Civ. P. 55(a) against RMG. 19
                                          14
                                               Trindade now seeks entry of default judgment only as to his individual claim. 20
                                          15

                                          16

                                          17
                                               11
                                          18        See id. at ¶ 8.
                                               12
                                          19     See Docket No. 80-1, Ex. 1-A at 13 (“Third-Party Defendants in this action may have made calls
                                               which included the text message language identified in Paragraph 20 of the Class Action
                                          20   Complaint.”).
                                               13
                                          21        See Docket No. 64 at 35.
                                               14
                                          22        See id.
                                               15
                                          23        See Docket No. 68.
                                               16
                                          24        See Docket No. 69.
                                               17
                                          25        See Docket No. 71.
                                               18
                                          26        See Docket No. 80-1 at ¶ 6.
                                               19
                                          27        See Docket No. 78.
                                               20
                                          28        See Docket No. 80 at 2.

                                                                                3
                                               Case No. 5:12-cv-04759-PSG
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                                                                                       II. LEGAL STANDARDS
                                           1

                                           2             After entry of default, district courts are authorized to enter default judgment, so long as the

                                           3   judgment does not “differ in kind from, or exceed in amount, what is demanded in the pleadings.” 21

                                           4   Entry of default judgment is discretionary. 22 To determine whether default judgment is warranted,
                                           5
                                               the court balances the Eitel factors: “(1) the possibility of prejudice to the plaintiff, (2) the merits of
                                           6
                                               plaintiff’s substantive claim, (3) the sufficiency of the complaint, (4) the sum of money at stake in
                                           7
                                               the action; (5) the possibility of a dispute concerning material facts; (6) whether the default was
                                           8
                                               due to excusable neglect, and (7) the strong policy underlying the Federal Rules of Civil Procedure
                                           9

                                          10   favoring decisions on the merits.” 23
For the Northern District of California




                                          11                                               III. DISCUSSION
    United States District Court




                                          12   A.        The Eitel Factors
                                          13             1.     Potential Prejudice to Trindade
                                          14
                                                         The first Eitel factor considers potential prejudice to Trindade. If the court does not grant
                                          15
                                               Trindade’s motion for default judgment, Trindade has no alternative recourse.
                                          16
                                                         2.     Trindade’s Claim Is Meritorious
                                          17
                                                         Second, the court looks to the merits of Trindade’s complaint. “In considering the
                                          18

                                          19   sufficiency of the complaint and the merits of the plaintiff’s substantive claims, facts alleged in the

                                          20   complaint not relating to damages are deemed to be true upon default.” 24

                                          21
                                               21
                                                 Fed. R. Civ. P. 54(c); see also Fed. R. Civ. P. 55 (authorizing the court to enter default
                                          22   judgment).
                                          23   22
                                                 See Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980) (“The district court’s decision
                                               whether to enter a default judgment is a discretionary one.” (citing Duling v. Markun, 231 F.2d 833
                                          24   (7th Cir. 1956); Georgia Power Project v. Georgia Power Co., 409 F. Supp. 332, 336-37
                                               (N.D. Ga. 1975); Ciccarello v. Joseph Schlitz Brewing Co., 1 F.R.D. 491, 493-94
                                          25   (S.D. W.Va. 1940))).
                                          26   23
                                                    Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986).
                                          27   24
                                                 Bd. of Trustees of Sheet Metal Workers v. Moak, Case No. 4:11-cv-04620-CW,
                                               2012 WL 5379565, at *2 (N.D. Cal. Oct. 31, 2012) (citing Geddes v. United Fin. Group,
                                          28   559 F.2d 557, 560 (9th Cir. 1977); Fed. R. Civ. P. 8(d)).
                                                                                                4
                                               Case No. 5:12-cv-04759-PSG
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                                                         Trindade’s complaint alleges that RMG violated Section 227(b)(1)(A)(iii) of the TCPA. 25
                                           1

                                           2   Section 227(b)(1)(A)(iii) prohibits making a call to a telephone number assigned to a cellular

                                           3   telephone service using an automatic telephone dialing system (“ATDS”), except for emergency

                                           4   purposes or with the prior express consent of the called party. 26 The Ninth Circuit has clarified the
                                           5
                                               statute’s language, holding that “a text message is a ‘call’ within the TCPA” 27 and that an ATDS is
                                           6
                                               equipment that “has the capacity to store or produce telephone numbers to be called, using a
                                           7
                                               random or sequential number generator.” 28
                                           8
                                                         Trindade asserts his TCPA claim under Section 227(c)(5) of the TCPA, 29 which provides a
                                           9

                                          10   private right of action for any “person who has received more than one telephone call within any
For the Northern District of California




                                          11   12-month period by or on behalf of the same entity in violation of the regulations prescribed under
    United States District Court




                                          12   this subsection.” Trindade alleges that RMG made, or had made on its behalf, 30 and “presently
                                          13

                                          14

                                          15   25
                                                    See Docket No. 1 at ¶ 2.
                                          16   26
                                                 “It shall be unlawful for any person within the United States . . . to make any call (other than a
                                          17   call made for emergency purposes or made with the prior express consent of the called party) using
                                               any automatic telephone dialing system or an artificial pre-recorded voice . . . to any telephone
                                          18   number assigned to a paging service, cellular telephone service, specialized mobile radio service,
                                               or other radio common carrier service, or any service for which the called party is charged for the
                                          19   call.” 47 U.S.C. § 227(b)(1)(A)(iii).
                                               27
                                          20     Satterfield v. Simon & Schuster, Inc. 569 F.3d 946, 954 (9th Cir. 2009) (affording deference to
                                               the FCC’s interpretation of the term ‘call’); see also Kazemi v. Payless Shoesource, Inc.,
                                          21   Case No. 3:09-cv-05142-EMC-MHP, 2010 WL 963225, at *2 (N.D. Cal. Mar. 16, 2010).
                                               28
                                          22        Id. at 951 (emphasis in original).
                                               29
                                          23        See Docket No. 80 at 8.
                                               30
                                          24      Courts in this district have held that under the TCPA, “a seller may be liable for violations by its
                                               representatives under a broad range of agency principles.” Lee v. Stonebridge Life Ins. Co.,
                                          25   Case No. 3:11-cv-00043-RS-JSC, 2013 WL 3828814, at *1 (N.D. Cal. Jul. 19, 2013) (quoting FCC
                                               ruling); see also Heidorn v. BDD Mktg. & Mgmt. Co., LLC, Case No. 4:13-cv-00229-YGR-JCS,
                                          26   2013 WL 6571629, at *15 (N.D. Cal. Aug. 19, 2013) (“On May 9, 2013, the Federal
                                               Communications Commission issued a Declaratory Ruling that ‘while a seller does not generally
                                          27   initiate’ calls within the meaning of the TCPA, it nonetheless may be held vicariously liable under
                                               the federal common law principles of agency for violations of either section 227(b) or section
                                          28   227(c) that are committed by third-party telemarketers.”).

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                                               continues to make,” text message calls to his cellular telephone without his consent. 31 He claims,
                                           1

                                           2   for example, that he received one such call on August 13, 2012. 32 Trindade alleges that these text

                                           3   message calls were made using an ATDS, which “had the capacity to store or produce telephone

                                           4   numbers to be called using a random or sequential number generator, and to dial such numbers.” 33
                                           5
                                               Trindade’s complaint thus states a valid claim under the TCPA.
                                           6
                                                         3.      Trindade’s Complaint is Well-Supported by the Record
                                           7
                                                         Third, the court must consider the sufficiency of Trindade’s complaint. Trindade’s
                                           8
                                               allegations are supported by the declaration of Trindade’s attorney Benjamin Richman and
                                           9
                                               151 pages of supporting exhibits.34 RMG’s answer, third-party complaint and responses to
                                          10
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                                          11   interrogatories also support Trindade’s allegations. These documents establish that RMG
    United States District Court




                                          12   contracted with third-party publishers to advertise via text messages, 35 owned two of the websites
                                          13   alleged in the complaint 36 and was aware that the third-party defendants sent “text messages to
                                          14
                                               cellular phone numbers.” 37 The allegations in the complaint thus are well-supported by the record.
                                          15

                                          16   31
                                                    Docket No. 1 at ¶ 15.
                                          17   32
                                                  See id. at ¶ 17. Trindade’s complaint alleges the August 13, 2012 call with particularity,
                                          18   providing content and the telephone number from which the call was made. He also alleges that
                                               RMG made “and presently continues to make, text message calls to Plaintiff’s and the other Class
                                          19   members’ cell phones.” The exact number of calls that Trindade alleges were made to his cellular
                                               telephone is unclear, but it is reasonable to infer that Trindade alleges that he received more than
                                          20   one call within a 12-month period. See In re Consol. Pretrial Proceedings in Air W. Secs. Litig.,
                                               436 F. Supp. 1281, 1286 (N.D. Cal. 1977) (citing Thomson v. Wooster, 114 U.S. 104, 115 (1885))
                                          21   (“The party in whose favor a default has been entered is entitled to the benefit of all reasonable
                                               inferences from the evidence tendered.”); United States v. Torres, Case No. 2:12-cv-10530-SVW,
                                          22   2013 WL 7137587, at *4 (C.D. Cal. Apr. 17, 2013) (citing cases holding that the movant is entitled
                                               to all reasonable inferences from the evidence offered).
                                          23   33
                                                    Docket No. 1 at ¶ 23.
                                          24   34
                                                    See Docket No. 80-1.
                                          25   35
                                                    See Docket No. 17 at ¶ 1; see also Docket No. 22 at ¶ 3 and 4.
                                          26   36
                                                    See id. at ¶ 19.
                                          27   37
                                                 Docket No. 80-1, Ex. 1-A at 13. Indeed, RMG stated in its third-party complaint that it had
                                          28   received numerous complaints from recipients of text messages “purportedly sent on RMG’s
                                               behalf.” Docket No. 22 at ¶ 21.
                                                                                              6
                                               Case No. 5:12-cv-04759-PSG
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                                                          4.     The Amount of Money at Stake is Reasonable
                                           1
                                                          Fourth, the court considers the amount of money at stake in this case. “Default judgment is
                                           2

                                           3   disfavored where the sum of money at stake is too large or unreasonable in light of defendant’s

                                           4   actions.” 38 “The Court considers Plaintiff’s declarations, calculations, and other documentation of

                                           5   damages in determining if the amount at stake is reasonable.” 39 Trindade seeks a judgment of
                                           6
                                               $1,500 in damages. 40 Section 227(c)(5) of the TCPA permits a claimant to recover “up to $500 in
                                           7
                                               damages” for each violation, plus a three times multiplier if the violation was willful or knowing. 41
                                           8
                                               Because Trindade alleges that he received more than one text message call from RMG in violation
                                           9
                                               of the TCPA, 42 the amount sought therefore is reasonable and consistent with the statutorily
                                          10
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                                          11   prescribed damages.
    United States District Court




                                          12              5.     No Material Facts Are in Dispute

                                          13              Fifth, the court must consider the possibility of disputed material facts. Following entry of
                                          14   default, the court “takes all well-pleaded facts, except those pertaining to damages, as true.” 43
                                          15
                                               Trindade’s claims, moreover, are supported by clear record evidence, including RMG’s answer,
                                          16
                                               third-party complaint and responses to interrogatories. 44 In sum, the weight of evidence supports
                                          17
                                               the damages sought.
                                          18

                                          19

                                          20
                                               38
                                          21      Truong Giang Corp. v. Twinstar Tea Corp., Case No. 3:06-cv-03594-JSW, 2007 WL 1545173,
                                               at *12 (N.D. Cal. May 29, 2007).
                                          22   39
                                                    Id.
                                          23   40
                                                    See Docket No. 80 at 2.
                                          24   41
                                                    47 U.S.C. § 227(b)(3)(B)-(C). See also Heidorn, 2013 WL 6571629, at *15.
                                          25   42
                                                 Trindade alleges that he received a text message call on August 13, 2012, and that RMG
                                          26   “presently continues to make” such calls. Docket No. 1 at ¶ 15 and 17.
                                               43
                                          27        Truong, 2007 WL 1545173, at *12.
                                               44
                                          28        See Docket Nos. 1, 17, 22 and 80-1, Ex. 1-A.

                                                                                7
                                               Case No. 5:12-cv-04759-PSG
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                                                        6.      RMG’s Default Is Not the Result of Excusable Neglect
                                           1
                                                        Sixth, the court must consider whether RMG’s failure to appear was due to excusable
                                           2

                                           3   neglect. RMG actively participated in this litigation for over a year, filing an answer and a

                                           4   third-party complaint and responding to interrogatories. 45 On November 7, 2013, however, RMG’s

                                           5   attorneys withdrew as counsel of record. 46 In the interim, RMG has not communicated with
                                           6
                                               opposing counsel or filed anything on the docket. 47 Courts in this district have held that where a
                                           7
                                               defendant “was aware of Plaintiff’s action” and later stopped actively participating in the case, a
                                           8
                                               finding of excusable neglect is unwarranted. 48
                                           9
                                                        7.      Public Policy Favors Default Judgment
                                          10
                                                        Seventh, the court must consider whether default judgment comports with the legal
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                                          11
    United States District Court




                                          12   principles undergirding the Federal Rules of Civil Procedure. While the Federal Rules favor

                                          13   decisions on the merits, this preference standing alone is not dispositive.49 A decision on the
                                          14   merits is not possible where defendants have discontinued their participation in the proceedings.
                                          15
                                               The baseline preference to adjudicate cases on the merits thus does not preclude a trial court from
                                          16
                                               entering default judgment.
                                          17
                                                        On balance, the Eitel factors support entry of default judgment.
                                          18

                                          19

                                          20   45
                                                    See Docket Nos. 17, 22 and 80-1, Ex. 1-A.
                                          21   46
                                                    See Docket No. 70.
                                          22   47
                                                 See Docket No. 80-1 at ¶ 6. RMG also has not evidenced any intent to take on new
                                          23   representation in this case.
                                               48
                                          24     Heidorn, 2013 WL 6571629, at *9 (finding no excusable neglect where Defendant received the
                                               complaint and contacted Plantiff to discuss the possibility of settlement); see also Softwareworks
                                          25   Grp., Inc. v. IHosting, Inc., Case No. 5:06-cv-04301-HRL, 2007 WL 2187306, at *1
                                               (N.D. Cal. Jul. 27, 2007) (finding no excusable neglect where Defendants “ceased contact with
                                          26   Plaintiff and the court” during discovery proceedings).
                                               49
                                          27     See Zazenski v. Danner, Case No. 5:12-cv-02344-RMW-PSG, 2013 WL 5513437, at *5
                                               (N.D. Cal. Oct. 4, 2013); see also Kloepping v. Fireman’s Fund, Case No. 3:94-cv-02684-THE,
                                          28   1996 WL 75314, at *3 (N.D. Cal. Feb. 13, 1996).

                                                                                8
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                                               B.         No Hearing is Necessary Because Trindade’s Damages Are Calculable and Reasonable
                                           1
                                                          After determining liability, the court then calculates the amount of damages to be
                                           2

                                           3   awarded. 50 Although “factual allegations relating to liability are taken as true upon entry of

                                           4   default, allegations as to amount of damages are not automatically accepted.” 51 “In the

                                           5   Ninth Circuit, it is established that ‘a default judgment for money may not be entered without a
                                           6
                                               hearing unless the amount claimed is a liquidated sum or capable of mathematical calculation.’” 52
                                           7
                                               When the damages claimed are not readily ascertainable from the pleadings and the record, the
                                           8
                                               court may hold a hearing to value damages. 53
                                           9
                                                          As previously noted, the TCPA permits a claimant who has received more than one call
                                          10
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                                          11   violating its provisions to recover $500 for each violation, plus trebling if the violations were
    United States District Court




                                          12   willful or knowing. 54 Trindade contends that he is entitled to statutory damages for one violation
                                          13   of the TCPA, trebled because “it is clear that RMG had knowledge that unsolicited text messages
                                          14
                                               were being sent on its behalf.” 55 Trindade therefore seeks a judgment of $1,500 in damages. 56 The
                                          15
                                               basis for this amount is readily ascertainable from the pleadings and record. Trindade alleges one
                                          16
                                               call with particularity, providing a date and content, as well as the telephone number from which
                                          17

                                          18   the call was made. 57 Trindade also alleges other calls and provides the content of those calls and

                                          19
                                               50
                                          20        See Zazenski, 2013 WL 5513437, at *5.
                                               51
                                          21     Truong, 2007 WL 1545173, at *13 (citing TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915,
                                               917-18 (9th Cir. 1987)).
                                          22   52
                                                    Id. (quoting Davis v. Fendler, 650 F. 2d 1154, 1161 (9th Cir. 1981)).
                                          23   53
                                                 See Fed. R. Civ. P. 55(b)(2) (“The court may conduct hearings or make referrals—preserving
                                          24   any federal statutory right to a jury trial—when, to enter or effectuate judgment, it needs to”
                                               determine the amount of damages.).
                                          25   54
                                                    § 227(b)(3)(B)-(C). See also Heidorn, 2013 WL 6571629, at *15.
                                          26   55
                                                    Id.
                                          27   56
                                                    See Docket No. 80 at 8-9.
                                          28   57
                                                    See Docket No. 1 at 4.
                                                                                9
                                               Case No. 5:12-cv-04759-PSG
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                                               the telephone numbers from which those calls were made. 58 The statutory damages sought are
                                           1

                                           2   warranted.

                                           3            Trebling also is appropriate. 59 RMG admits that it had knowledge of the TCPA 60 and that it

                                           4   had knowledge that the calls at issue were being made. 61 Although Trindade seeks statutory
                                           5
                                               damages for a single violation of the TCPA, the evidence in the record shows that RMG contracted
                                           6
                                               with third-party publishers to generate many text message calls in violation of the statute. 62
                                           7
                                                        Default judgment in the amount of $1,500 will follow.
                                           8
                                               IT IS SO ORDERED.
                                           9

                                          10   Dated: July 18, 2014
For the Northern District of California




                                          11                                                         _________________________________
                                                                                                     PAUL S. GREWAL
    United States District Court




                                          12                                                         United States Magistrate Judge
                                          13

                                          14

                                          15

                                          16
                                               58
                                          17      See Docket No. 1 at 4-5. See also Heidorn, 2013 WL 6571629, at *15 (“Telephone numbers are
                                               significant because they establish that Plaintiff had some basis for concluding that the alleged calls
                                          18   were from Defendant or an agent of Defendant.”).
                                               59
                                          19      The court observes that a split in authority exists regarding what qualifies as “knowing” conduct
                                               warranting trebling. See J2 Global Commc’ns, Inc. v. Blue Jay Inc., Case No. 4:08-cv-4254-PJH,
                                          20   2009 WL 4572726, at *7 (N.D. Cal. Dec. 1, 2009) (“There appears to be a split in authority as to
                                               what predicate conduct is required before a treble damages award may be issued.”). Some courts
                                          21   have held that a defendant must know that the making of the call violates the TCPA, while others
                                               have held that a defendant need only know that the call is being made. See id. (citing case law
                                          22   from various jurisdictions). The court need not decide this issue, as treble damages are appropriate
                                               here under either standard.
                                          23   60
                                                  See Docket No. 80-1, Ex. 1-C at 127:
                                          24           RMG admits that prior to September 12, 2012, the date the Class Action Complaint in this
                                                       matter was filed, Reach Media Group, LLC knew that under 47 U.S.C. § 227(b)(1)(A)(iii),
                                          25           it is unlawful for any person within the United States “to make any call (other than a call
                                                       made for emergency purposes or made with prior express consent of the called party) using
                                          26           any automatic telephone dialing system or an artificial or prerecorded voice . . . to any
                                                       telephone number assigned to a . . . cellular telephone service . . . .”
                                          27   61
                                                  Docket No. 80-1, Ex. 1-A at 13.
                                          28   62
                                                    See Docket Nos. 17, 22 and 80-1, Ex. 1-A.
                                                                               10
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